          Case 1:21-cr-00052-TJK Document 41 Filed 04/26/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :         CASE NO. 21-cr-52-1 (TJK)
               v.                             :
                                              :
DOMINIC PEZZOLA,                              :
                                              :
                                              :
                       Defendant.             :

                                    JOINT STATUS UPDATE

       The United States of America, by and through its attorney the Acting United States

Attorney for the District of Columbia, and defendant Dominic Pezzola, by and through his attorney

Marty Tankleff, Esq., hereby provide this joint status update to the Court.

       At a status conference on March 26, 2021, this Court granted the government’s motion to

exclude time pursuant to the Speedy Trial Act, and it set the matter for further status on May 25,

2021. It also directed the parties to file joint status updates on or before April 26, 2021. The

parties accordingly file the below status update.

       At the March 26 hearing, Steven Metcalf II, Esq., appeared on the defendant’s behalf via

video-link. Although Mr. Metcalf had not yet been admitted to practice in this Court, the Court

allowed his participation, and previous counsel, Jonathan Zucker, Esq., moved to withdraw. The

Court indicated it would grant such a motion when another attorney had entered an appearance in

the case, but it left Mr. Zucker as counsel of record pending any other attorney entering an

appearance.

        On April 13, 2021, Mr. Tankleff, who is an associate at Mr. Metcalf’s firm, entered his

appearance in this case, and Mr. Zucker moved to withdraw as counsel the next day. Mr.


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          Case 1:21-cr-00052-TJK Document 41 Filed 04/26/21 Page 2 of 2




Metcalf’s application has been accepted by the D.C. Circuit, but has not yet been finalized. The

Court granted Mr. Zucker’s motion on April 16, 2021. Since that date, undersigned counsel has

been in contact with Messrs. Tankleff and Metcalf about providing them both with discovery

previously provided to Mr. Zucker, as well as discovery going forward. The government expects

to provide its next batch of rolling to discovery soon after the Court signs the government’s motion

to disclose material protected by Federal Rule of Criminal Procedure 6(e) and/or currently under

seal, ECF No. 39. On April 22, 2021, the government additionally provided counsel with a

viewing letter that will allow them to take a tour of the U.S. Capitol if they so choose.

        Undersigned counsel has provided a copy of this joint status to Messrs. Metcalf and

Tankleff, and they have informed undersigned counsel that it may be filed as a joint status update.



                                              Respectfully submitted,

                                              CHANNING PHILLIPS
                                              Acting United States Attorney
                                              D.C. Bar No. 415793


                                      By:        /s/ Erik M. Kenerson
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